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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )        Case No.: 2:06-cr-00071-MHT-SMD
                                                       )
BERNETTA WILLIS                                        )


                         DEFENDANT’S RESPONSE TO COURT ORDER

            Bernetta Willis, by counsel, files her response to this Court’s May 11, 2020 order (Doc.

395) that directed her to (1) provide proof that she has filed a petition asking the Bureau of Prisons

(BOP) to file a motion on her behalf for compassionate release under 18 U.S.C. § 3582 (c)(1)(A)

since the start of the COVID-19 pandemic and (2) inform the court whether she has received a

response to the request, and if possible, submit evidence of the response or lack thereof would

show the following:

           Ms. Willis initiated a request for compassionate release with the warden at FCI Aliceville

in February 2020 through a computer system used by all prisoners. She did not retain a copy of

that request. On April 13, 2020, Ms. Willis sent a request to her unit manager, Ms. Hill, asking her

to check the status of the Compassionate Release request. 1 An April 21, 2020 progress report from

the Bureau of Prisons documented that Ms. Willis had requested compassionate release. 2 On May

13, 2020, the Bureau of Prisons denied her request. 3




1
    See Defense Exhibit #1, Inmate Request to Staff dated April 13, 2020.
2
    See Defense Exhibit #2, Excerpt from April 21, 2020 progress report from the Bureau of Prisons.
3
    See Defense Exhibit #3, Denial of Compassionate Release Request dated May 13, 2020.
     Case 2:06-cr-00071-MHT-SMD Document 401 Filed 05/15/20 Page 2 of 6




       As of May 15, 2020, there are seventeen documented coronavirus cases at FCI Aliceville.

The BOP Covid-19 website lists one prisoner and four staff as currently suffering from the virus

and nine prisoners and three staff as “recovered” from the virus.

                                                     Respectfully submitted,

                                                     /s/Angela D. Smith
                                                     Angela D. Smith
                                                     Assistant Federal Defender
                                                     817 South Court Street
                                                     Montgomery, Alabama 36104
                                                     Phone: (334) 834-2099
                                                     Fax: (334) 834-0353
                                                     E-mail: angela_smith@fd.org
                                                     TN Bar No. 33909
     Case 2:06-cr-00071-MHT-SMD Document 401 Filed 05/15/20 Page 3 of 6




              IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              ) Case No.: 2:06-cr-00071-MHT-SMD

                                                 )
BERNETTA WILLIS                                  )


                            CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel of record.

                                          Respectfully submitted,

                                          /s/Angela D. Smith
                                          Angela D. Smith
                                          Assistant Federal Defender
                                          817 South Court Street
                                          Montgomery, Alabama 36104
                                          Phone: (334) 834-2099
                                          Fax: (334) 834-0353
                                          E-mail: angela_smith@fd.org
                                          TN Bar No. 33909
                    Case 2:06-cr-00071-MHT-SMD Document 401 Filed 05/15/20 Page 4 of 6




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               DEPARTMENT              OF JUSTICE




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                          Signature      staff Member



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                                                                                                             EXHIBIT 1
               Case 2:06-cr-00071-MHT-SMD Document 401 Filed 05/15/20 Page 5 of 6


                              Summary Reentry Plan                  -   Progress Report                                   SEQUENCE:        00175010
    (~c4~)j                          Dept. of Justice / Federal Bureau of Prisons                                 Report Date: 04-21-2020
      t~                      Plan is for inmate: WILLIS, BERNETTh LASBAY 11880-002

~ Most Recent Payment Plan
INC.      Type         Amount                       Balance         Payable            Status
1             ASSMT           $2,200.00             $0.00           IMMEDIATE          COMPLETEDZ
                                    **NO ADJUSTMENTS MADE IN LAST6 MONTHS **
              REST FV         $79,607.45            $76,018.23      IMMEDIATE          AGREED
                      IAdiustments:      Date Added       Fad  Adjust Type    Reason                                             Amount
                                         12-06-2019       ALl  PAYMENT        INSIDE PMT                                          $33.33


Financial Responsibility Summary
Inmate Willis was assessed a $2,200 felony assessment fee by the Middle District of Alabama. She has paid her court ordered obligation in fiJIl. She
has made payments towards her restitution.



Release Planning
Willis plans on residing with her daughter, Mercedes Mcoueen at 4909 Apt. D, Montgomery, AL 36108, phone #334-294-8321.




General Comments
Willis is requesting consideration for compassionate Release.




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Sentry Data as of 04-21-2020                         Summary Reentry Plan Progress Report
                                                                                   -                                                    Page 4 of 5

                                                                                                                                           EXHIBIT 2
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                                                                     EXHBIT 3
